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                     Exhibit B
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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 KEEGAN ALLANACH

                Plaintiff,

 v.                                         CASE NO.: 8:21-cv-41-VMC-AEP

 THE GLENRIDGE ON PALMER
 RANCH, INC., a Florida corporation,

                Defendant.
                                    /

                              DECLARATION OF JULIE IRVIN

       I, Julie Irvin, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746,

 that the following is true and correct:

       1.       I am over the age of 21 and have personal knowledge of the matters set

 forth below.

       2.       I am the Administrator and Director of Health Services for The

 Glenridge on Palmer Ranch, Inc. (“Company”). All Company healthcare staff are

 under my ultimate authority and supervision. I also worked in this capacity in 2020.

       3.       I am familiar with the allegations in this lawsuit by Keegan Allanach

 that her employment with the Company was terminated for her being transgender. It

 was not.

       4.       Ms. Allanach’s former employment coincided with an initial wave of

 the COVID-19 pandemic. Throughout her employment, both she and the Company
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 were required to comply with the guidance from the Florida Agency for Health Care

 Administration that is attached hereto as Exhibit “1.”

       5.     On April 14, 2020, the Company learned that a different employee had

 tested positive for COVID-19. This was the first known positive case among

 Company staff. It was very concerning.

       6.     The Company promptly issued a press release. The Company also

 called for an all-staff meeting on April 15, 2020, to discuss the positive case, address

 concerns, and emphasize the need to follow precautionary protocols. I led the

 meeting, along with Janet Underwood (Infection Prevention and Control Officer).

 Among other protocols, the need to adhere to properly wearing masks was stressed.

       7.     At the meeting, Ms. Allanach engaged in misconduct that I found very

 troubling, particularly given the circumstances. I had opened the floor for questions,

 and all staff except for Ms. Allanach continued to wear their required masks. She

 alone, however, removed her mask. When I insisted that she put it back, she was

 further rude and disrespectful. Attached as Exhibit “2” hereto is a copy of a more

 detailed written statement that I prepared the day after the meeting. Everything I

 wrote therein was true and accurate, and I incorporate it herein.

       8.     I believed Ms. Allanach’s conduct was reckless, disrespectful, and

 insubordinate.

       9.     As referenced in the statement attached as Exhibit “2,” a nurse who

 worked with Ms. Allanach approached me after the meeting to report that Ms.

 Allanach’s behavior was consistent with her pattern of being difficult, stating in

                                           -2-
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 reference to Ms. Allanach, “Now you see what I have to deal with, with her.” That

 nurse was Polly Giuliani. Other staff also expressed concern with Ms. Allanach’s

 behavior at the meeting. I believed the report from Ms. Giuliani and the concerns

 from other staff, which were consistent with my personal observations.

       10.    After the meeting, I conferred with Ms. Underwood and with Dawn

 Grathoff (Director of Nursing). I was very concerned by Ms. Allanach’s actions,

 particularly under the circumstances and with her being a new hire still in her 90-day

 probationary period. They had similar concerns.

       11.    All three of us agreed with the decision to terminate Ms. Allanach, with

 me being the ultimate decisionmaker.

       12.    Attached hereto as Exhibits “3” and “4” respectively are true and

 correct copies of Ms. Allanach’s termination form and of an email I sent to process

 the termination.

       13.    The reasons for Ms. Allanach’s termination are accurately reflected in

 the top part of the attached termination form (portions above the employee

 statement), in the attached email, and in the attached statement I prepared. The

 reasons did not include any discrimination whatsoever.

       14.    I am not aware of Ms. Allanach ever having permission to remove her

 mask at work. She certainly never had my permission to do so.

       15.    During the time Ms. Allanach was employed, the only Scott, Carmen,

 and Maggie who were Certified Nursing Assistants were Scott Lightner, Carmen

 Velazquez, and Maggie McKinnen. The only Polly was a nurse named Polly

                                          -3-
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                           EXHIBIT “1”
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Sunya Wilson

From:                           Julie Irvin
Sent:                           Wednesday, April 15, 2020 3:48 PM
To:                             Sunya Wilson
Subject:                        Residential and Long Term Care Facilities to Implement Universal Use of Facial Masks

Importance:                     High



Received 03/18/2020
                                                                                                RON DESANTIS
                                                                                                   GOVERNOR
                       AGEHCY FOR
                       HfALmCA"E                                                             MARY C. MAYHEW
                                                                                                   SECRETARY
                      ADMINISTRATIOH




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              Residential and Long Term Care Facilities to Implement
                           Universal Use of Facial Masks

           EFFECTIVE IMMEDIATELY IN ALL RESIDENTIAL I LONG
           TERM CARE FACILITIES:

              • ALL STAFF AND ANYONE ENTERING THE FACILITY
                MUST WEAR A FACIAL MASK AT ALL TIMES
              • GLOVES WHEN PROVIDING DIRECT CARE TO A
                PATIENT OR RESIDENT

           Effective immediately staff of residential and long term care facilities
           are to implement universal use of facial masks while in the
           facility. All staff, essential healthcare visitors and anyone entering the
           facility are to don a mask upon the start of their shift or visit and only
           change it once it becomes moist. It is important to keep hands away from
           the mask and only touch the straps of the mask. Gloves are to be worn
           when providing care to the resident. Continue to perform hand hygiene
           prior to donning gloves, after removing gloves, and anytime there is
           contact with the resident environment.
           Staff in a room with a patient with respiratory symptoms of unknown
           cause or a patient with known or suspected COVID-19 should adhere
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     to Standard. Contact. and Droplet Precautions with eye protection.
     This includes wearing gown, gloves. N95 mask (as fitted and
     available - if not available. at least a facial mask). and eye protection
     such as face shields or goggles.
      In addition to securing more gowns, gloves, and masks, facilities will need
      to immediately order the appropriate eye protection (I.e. face shields)
      since many do not have this on hand . In the event you are unable to
      acquire the necessary PPE, please notify your local emergency
      management agency.
      GUIDANCE ON USE AND CONSERVATION OF Personal Protective
      Equipment (PPE)
      Facilities will need to educate their staff on the proper donning (putting on),
      doffing (taking off), and disposal of any PPE.
     Information about the recommended duration of Transmission-Based
     Precautions is available in the Interim Guidance for Discontinuation of
     Transmission-Based Precautions and Disposition of Hospitalized Patients
     with COVID-19
      Gloves - Frequently Asked Questions

         •   What type of glove is recommended to care for suspected or
             confirmed COVID-19 patients in healthcare settings?
               o Nonsterile disposable patient examination gloves, which are
                   used for routine patient care in healthcare settings, are
                   appropriate for the care of patients with suspected or
                   confirmed COVID-19.

         •   Is double gloving necessary when caring for suspected or
             confirmed CoVID-19 patients in healthcare settings?
                o CDC Guidance does not recommend double gloves when
                   providing care to suspected or confirmed 2019-COVID
                   patients.

         •   Are extended length gloves necessary when caring for
             suspected or confirmed COVID-19 patients in healthcare
             settings?
                o  According to CDC Guidance, extended length gloves are not
                   necessary when providing care to suspected or confirmed
                   COVID-19 patients. Extended length gloves can be used, but
                   CDC is not specifically recommending them at this time.

         •   How do I put on (don) and take off (doff) my mask and gloves?
               o  Check to see if your facility has guidance on how to don and
                  doff PPE. The procedure to don and doff should be tailored to
                                             2
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                  the specific type of PPE that you have available at your
                  facility.
              o   If your facility does not have specific guidance, the CDC has
                  recommended sequences for donning and doffing PPE.
              o   It is important for HCP to perform hand hygiene after
                  removing PPE. Hand hygiene should be performed by using
                  an alcohol-based hand sanitizer that contains 60-95% alcohol
                  or washing hands with soap and water for at least 20
                  seconds. If hands are visibly soiled, soap and water should
                  be used before returning to alcohol-based hand sanitizer.


     Additional Resource
     Guideline for Isolation Precautions: Preventing Transmission of Infectious
     Agents in Healthcare Settings.




                                          3
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                               Effective Immediately
               In All Residential! Long Term Care Facilities

              ALL STAFF AND ANYONE ENTERING THE FACILITY
                 MUST WEAR A FACIAL MASK AT ALL TIMES




                                                            AND

                       GLOVES WHEN PROVIDING DIRECT CARE
                            TO A PATIENT OR RESIDENT
                                                       HOWEVER

                 Staff in a room with a patient with respiratory symptoms of unknown cause or a
                patient with known or suspected COVID-19 should adhere to Standard. Contact,
                                    and Droplet Precautions with eye protection,
                 This includes wearing gown, gloves, N95 mask (as fitted and available - if not
               available, at least a facial mask), and eye protection such as face shields or goggles,




                                                                                 II
                                                                          HEALTH


      The Agency for Health Care Administration is committed to better health care for all Floridians. The Agency
      administers Florida's Medicaid program, licenses and regulates more than 44,000 health care facilities and 53
      health plans, and publishes health care data and statistics at www.FloridaHeaJlhFinder.qov Additional information
      about Agency initiatives is available via Facebook (AHCAFlorida\. Twilter (@AHCA FO and You Tube (IAHCAFloridaJ.


           Agency for Health Care Administration I 2727 Mahan Drive, Tallahassee, FL 32308 I ~




                                                               4
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This message was sent to jprins@theglenridge.com from:
                                                                                                AGENC( FOil
State of Florida Agency for Health Care Administration I AHCANotice@ahca.myflorida.com I HQA    HeAl.TH C.o.It£
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Provider Notice I 2727 Mahan Drive, Ft. Knox Bldg. #1, Room 136 I Tallahassee, FL 32308

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                           EXHIBIT “2”
Case 8:21-cv-00041-VMC-AEP Document 30-3 Filed 10/13/21 Page 13 of 20 PageID 181




   April 16, 2020



   On Wednesday, April 15 th , Janet Underwood, Infection Prevention and Control Officer, and I held a staff

   meeting with everyone working in the Carroll Center to address the rumors and concern and explain to

   them the voluntary Press Release and the current situation related to the employee who tested positive .

   (See Attached Press Release).

   Explained to them that the employee has not been here for 11 days, we just found out the day before

   that the employee had tested positive. Further explained that if they happen to receive a call from the

   media, they should direct them to the CEO or myself, to ensure we continue to give accurate

   information and remain transparent.

   I reminded all staff that non-direct-care staff are to wear the reusable, cloth masks and the surgical,

   disposable masks are to be used by clinical staff (Nurses and CNAs only) . I reiterated this point and asked

   if any of the non-direct-care staff needed the cloth masks, a couple of housekeepers raised their hands

   and I let them know we would have more tomorrow and I would get them to their supervisor but in the

   meantime to continue to wear the disposable ones. Janet addressed the Carroll Center Nursing and CNA

   staff about the need for them to be at work, unless they are ill, and addressed their concerns about

   safety related to an employee having tested positive. Janet reminded everyone that the employee was

   last in the building 11 days ago and no members or staff are showing any symptoms of illness.

   Staff were asked if they had any questions or concerns. Several staff asked questions and questions

   were answered. All staff were wearing their masks, as required, during the entire time of the meeting

   and always while in the facility.

   Keegan raised her hand, pulled her own personal cloth mask down, and stated she had a question. I

   responded and said "Please put your mask back on", to which she said, "I can't talk with it on", to which

   I responded "Put your mask back on", she did not, and said she can't breathe with it on. I again said,

   very sternly, but calmly, "Put. Your. Mask. Back. On . It. Is. Required.". At that time, she pulled her mask

   back on and, with an attitude, said she wasn't going to ask her question anymore.

   After this occurred, I asked if anyone else had questions, one or two staff members had comments, but

   not questions, we finished by thanking everyone for the hard work they are doing and told them to keep

   up the great work and we will have a big celebration when we get on the other side of this pandemic.



   After the meeting, the nurse who works with Keegan, said "Now you see what I have to deal with, with

   her.", referencing Keegan being difficult. Additionally, several staff made comments that they could not
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   believe that she removed her mask and refused to put it back on. Furthermore, I received feedback that

   the employee has been less than cooperative, has been working on her own less than 2 weeks, is in her

   gO-days and is just not performing to the Glenridge standard. I talked to Janet Underwood and

   expressed my concern that if Keegan is openly defying the requirement to wear a mask while sitting in

   the middle of a member area, in a meeting with all staff and supervisors present, I was very concerned

   about whether she was following the requirement in patient rooms when no one is around . Janet

   reminded me that she has addressed this specific issue with Keegan previously. Due to the extreme risk

   to our members and the critical importance of all staff following the requirement to wear a mask at all

   times while within the facility, as well as the expressed performance issues - it was decided that Keegan

   was not up to the Glenridge standard. Keegan demonstrated an open unwillingness to follow a very

   critical requirement and therefore presented a risk to the health of our members; therefore we agreed

   it would be best for the facility and for the safety of our members to terminate her employment with us.

   She was called into my office, with the Infection Prevention Officer and the Director of Nursing present. I

   let her know that what occurred in the meeting regarding the mask was another example of a

   performance issue that had been brought to the attention of Nurse management and a blatant

   disregard for the safety of our members and it was thus determined that she was not a good fit for the

   Glenridge and that her employment was being terminated effective immediately.



   Respectfully submitted,



   Julie Irvin, Ph.D., LNHA

   Director of Health Services
    Case 8:21-cv-00041-VMC-AEP Document 30-3 Filed 10/13/21 Page 15 of 20 PageID 183


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                                                                                               Contact:
                                                                                 Julie Irvin, Ph.D., LNHA
                                                                              JIrvin@theglenridge.com
                                                                                          (941) 552-3591
                                                                                          April 14, 2020

            Skilled Nursing Employee at The Glenridge Tests Positive for COVID-19

          SARASOTA, Fla. - A PRN (as needed) nurse - who worked in The Carroll Center Skilled

          Nursing neighborhood within The Glenridge on Palmer Ranch - has tested positive for

          COVID-19, the community learned today. The nurse, who was asymptomatic and last

          worked at The Glenridge on April 4, was tested as a precautionary measure through the

          Sarasota County Health Department, due to residing in the same household as an

          individual who had tested positive on April 6. Once The Glenridge became aware of the

          April 6 test results, the nurse was not permitted to return to the facility. The nurse is

          currently quarantining at home, per CDC guidance.


          The Glenridge has reported this information to all appropriate regulatory authorities, as

          well as to staff, members, and to the families of those residing in the healthcare areas of

          the campus.



          Earlier today, representatives from the Agency for Health Care Administration (AHCA)

          and epidemiologists from the Florida Department of Health visited The Carroll Center to

          tour the facility and review protocol and procedures.



          "They were impressed with what we have in place," said Julie Irvin, Ph.D., LNHA,

          Director of Health Services at The Glenridge. "I asked them if we could do anything

          better or different, but they said we are doing everything we can do- and then some -

          to mitigate the risk. They told us to keep up the good work."
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      "Since the beginning of the COVID-19 outbreak in the U.S., The Glenridge has been

      vigilant in protecting the health and safety of our members and staff," added Dr. Irvin.

      liAs part of that process, we have rigorously screened, temperature-checked, and

      interviewed all those entering our community. Anyone exhibiting symptoms or not

      meeting the screening criteria has been denied access. In this case, the individual had no

      symptoms."


      According to Dr. Irvin, the entire Glenridge healthcare staff began wearing masks while

      in the facility, prior to AHCA's requirement to do so - and they are now receiving an

      additional temperature screening during their work shift. In addition, all Glenridge

      members residing in The Carroll Center are having temperature checks three times daily

      and are being monitored closely for respiratory symptoms and signs of illness.


      "At this time, no one in our healthcare areas has shown or is showing any signs of illness

      - and we are thankful for that," said Dr. Irvin. "But we are committed to full

      transparency throughout this crisis and will provide updates if things change or if

      additional information becomes available."




      The Glenridge on Palmer Ranch, a Life Fulfilling Community®, is located on a gO-acre campus situated
      within the master-planned Palmer Ranch community. The Glenridge features individual club homes and low-
      rise private residences, a 60, ODD-sq. -ft. Village Commons area with multiple dining venues, a 260-seat
      Performing Arts Center, a Fitness Center, a 75-foot heated pool and two HAR-TRi.J® tennis courts. The
      Glenridge also offers a Health Assurance Guarantee program, which provides members with access to
      private care residences in assisted living and skilled nursing at a significant discount to the market rate.

                                                   ###
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                           EXHIBIT “3”
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Employee Name: Keegan Allanach                                                               Today's Date: 04/15/2020

Job Title: CNA                                                       Supervisor: DGrathoff, RN
                                                    EMPLOYEE VIOLATION


o        Attendance                   o Tardiness                X    Job Performance          oX Misconduct
o        Insubordination          o      Safety Violation       D Other:
               SUPERVISOR STATEMENT: Describe Incident/Performance Issue. Please be specific.
          •    GPR Member handbook pg 42 # 1. Unsatisfactory work performance and poor attitude
          •    GPR Member handbook pg 43 #22. Insubordination- failure to follow requirements regarding wearing the
               isolation mask as directed




              CORRECTIVE ACTION: Describe problem resolution/expected behavior changes/performance.



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                                                        ACTION TAKEN


Wamin!!:      0   Verhal     D Written         oX Final        o Suspension      Dates:




NOTICE TO EMPLOYEE: IMM'7DIATE AND SATISFACTORY IMPROVEMENT MUST BE SHOWN OR FURTHER DISCIPLINARY
ACTION MAY BE TAKENf INCLUDING DISCHARGE.

Employee Signature:




Witness Signature:                                                                   Date:
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                           EXHIBIT “4”
  Case 8:21-cv-00041-VMC-AEP Document 30-3 Filed 10/13/21 Page 20 of 20 PageID 188


Sunya Wilson

From:                             Julie Irvin
Sent:                             Wednesday, April 15, 2020 3:19 PM
To:                               Deniese Williams; Montana Irizarry
Cc:                               Sunya Wilson; Dawn Grathoff; Janet Underwood
Subject:                          Keegan Allanach

Importance:                       High



We are terminating this employee today - she picked up three shifts for Mr. Loranger that you all will need to get
covered.
She is being terminated for failure to follow requirements regarding wearing the mask as well as performance and
attitude issues.
She is very new and has proven that she is not Glenridge material.




Julie Irvin, Ph.D., LNHA
Director of Health Services
The Glenridge on Palmer Ranch
Office: (941) 552-3591




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